      Case 1:18-cv-00829-SCY-JFR Document 91-1 Filed 10/20/20 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

JOHN VIGIL,

               Plaintiff,
vs.                                                                  No. 18-CV-00829-SCY-JFR

FRANCIS TWEED, et al.,

               Defendant.

      AFFIDAVIT IN SUPPORT OF PLAINTIFF’S REQUEST FOR ADDITIONAL
            DISCOVERY NEEDED TO RESPOND TO THE PENDING
               MOTION FOR JUDGMENT ON THE PLEADINGS

       JOE M. ROMERO, JR., on his oath and based upon his own first-hand knowledge, states

and affirms:

       1.      I am counsel of record for Plaintiff in the above-captioned case.

       2.      In order to respond to the pending Motion by the County Defendant’s Motion for

Judgment on the Pleadings on the Basis of Qualified Immunity and Other Grounds, I need limited

additional discovery in the form of depositions.

       3.      Specifically, a central issue in the pending Motion for Judgment on the Pleadings

is whether the information included in the affidavits presented in support of the two search

warrants issued in this case, were:

            a. true and complete,

            b. if at the time that the Affidavits were prepared, the Affiants were aware of
               additional information that should have been included in the Affidavits in
               support of the search warrants; or

            c. if at the time that the Affidavits were prepared, the Affiants were aware that
               portions of the Affidavits contained information that was not true.
     Case 1:18-cv-00829-SCY-JFR Document 91-1 Filed 10/20/20 Page 2 of 4




       4.     Undersigned counsel represented John Vigil at his administrative hearing regarding

the appeal of his termination of employment. Defendant Francis Tweed testified under oath at the

administrative hearing.

       5.     In several instances at the administrative hearing, Francis Tweed testified falsely.

       6.     For example, after Mr. Vigil was criminally charged, Ms. Tweed inaccurately

testified under oath that upon a resident’s medication being discontinued, Mr. Vigil was required

to “immediately” return the medication to the pharmacy. SPO Hearing, 1st Day, at

2:59:30(disclosed to Defendants).

       7.     Likewise, after Mr. Vigil was criminally charged, and regarding Mr. Vigil’s

prescribed Hydrocodone, Ms. Tweed inaccurately testified under oath that as a NMBHI employee,

Mr. Vigil was not authorized to possess his own prescription medication unless it was stored in a

labeled or prescription container. SPO Hearing, 1st Day, at 3:39:00(disclosed to Defendants).

       8.     After Mr. Vigil was criminally charged, and regarding Mr. Vigil’s prescribed

Hydrocodone, Ms. Tweed falsely and inaccurately testified under oath that Mr. Vigil was not

allowed to use “any” prescription medication while on duty. SPO Hearing, 1st Day, at 3:36:00,

3:37:00, 3:38:30(disclosed to Defendants).

       9.     Francis Tweed provided information in support of the aforementioned Affidavits,

which in turn were used to support of the two search warrants.

       10.    In the first Affidavit, Sean Armijo refers to Joe Chavez informing him that Francis

Tweed “had received an anonymous letter stating that [Plaintiff] was stealing medication and

money from patients…” among other allegations.

       11.    The second Affidavit was executed by Defendant Anthony Madrid.

       12.    The second Affidavit contains the same allegations as the first Affidavit.




                                                    2
      Case 1:18-cv-00829-SCY-JFR Document 91-1 Filed 10/20/20 Page 3 of 4




       13.     If the information that is included in the affidavits by the County Defendants is true,

uncontradicted in depositions, complete, and did not omit other information that was known to

these Defendants or include information that was known by these Defendants not to be true at the

time that they executed the aforementioned affidavits, then given the Court’s prior rulings,

Plaintiff’s claims against the County Defendant will likely not be viable.

       14.     However, the depositions sought are critical to Plaintiff’s ability to evaluate what

was known and not known by the County Defendants.

       15.     It was clearly established at the State Personnel Office hearing that Francis Tweed

was the decisionmaker who decided to terminate Plaintiff—but that fact was not clear in

documentary evidence. The documentary evidence gave the appearance that Corrine Dominguez

terminated Plaintiff. In her testimony Corrine Dominguez stated that the decision to dismiss Mr.

Vigil was made primarily by Ms. Tweed. In support of that statement, Ms. Dominguez stated that

Ms. Tweed oversaw the investigation, and Ms. Tweed let Ms. Dominguez know what happened.

Ms. Dominguez testified that at the time Ms. Tweed was her boss and she trusted Ms. Tweed. Ms.

Dominguez additionally stated that the actual Notice of Final Action (NFA) letter was written by

Ms. Tweed in conjunction with the Human Resources Office. SPO Hearing, 2nd Day, at

5:19:30(disclosed to Defendants).

       16.     In order to respond to the Motion to Dismiss, Plaintiff needs the following

discovery: depositions of Francis Tweed, Antonio Coca, Joe Chavez, Sean Armijo, Anthony

Madrid, and Antoine Whitfield.

       17.     On behalf of Plaintiff, undersigned counsel requests that the court permit Plaintiff

to take the depositions of the foregoing individuals.




                                                        3
Case 1:18-cv-00829-SCY-JFR Document 91-1 Filed 10/20/20 Page 4 of 4
